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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS


RICHARD SEEKS, individually and               Case No. 1:19-cv-02394
on behalf of all others similarly situated,
                                              Honorable John J. Tharp, Jr.
                       Plaintiff,

v.

THE BOEING COMPANY, DENNIS A.
MUILENBURG, and GREGORY D. SMITH,

                       Defendants.


MERCER BUSCH, on behalf of himself and all    Case No. 1:19-cv-03548
others similarly situated,
                                              Honorable John J. Tharp, Jr.
                       Plaintiff,

v.

THE BOEING COMPANY, DENNIS A.
MUILENBURG, GREGORY D. SMITH,
and KEVIN McALLISTER,

                       Defendants.



     MOTION OF ROBERT W. KEGLEY SR., AS TRUSTEE OF THE ROBERT W.
         KEGLEY SR. REVOCABLE LIVING TRUST U/A DTD 04/16/2003,
        FOR CONSOLIDATION OF RELATED ACTIONS, APPOINTMENT
      AS LEAD PLAINTIFF, AND APPROVAL OF SELECTION OF COUNSEL
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        Putative class member Robert W. Kegley Sr. (“Kegley”), as Trustee of the Robert W.

Kegley Sr. Revocable Living Trust U/A DTD 04/16/2003, hereby moves this Court for entry of an

Order: (1) consolidating the above-captioned actions and any related securities class actions

pursuant to Rule 42(a) of the Federal Rules of Civil Procedure; (2) appointing Kegley as Lead

Plaintiff pursuant to the Private Securities Litigation Reform Act of 1995 (the “PSLRA”), 15

U.S.C. § 78u-4(a)(3)(B); (3) approving the selection of Kessler Topaz Meltzer & Check, LLP

(“Kessler Topaz”) as Lead Counsel and Caffarelli & Associates Ltd. (“Caffarelli”) as Liaison

Counsel for the class; and (4) granting such other and further relief as the Court may deem just

and proper.1

        This Motion is made on the grounds that Kegley believes that he is the “most adequate

plaintiff” under the PSLRA and should therefore be appointed Lead Plaintiff. Specifically, Kegley

believes that he has the largest financial interest in the relief sought by the class in the above-

captioned actions by virtue of, among other things, the significant losses Kegley suffered in

connection with his transactions in The Boeing Company securities. Kegley also otherwise

satisfies the requirements of Rule 23 of the Federal Rules of Civil Procedure because his claims

are typical of other class members’ claims and because he will fairly and adequately represent the

interests of the class.

        Kegley respectfully requests oral argument.

        This Motion is supported by the accompanying Memorandum of Law, the Declaration of

Sharan Nirmul and exhibits annexed thereto, the pleadings and other filings herein, and such other

written or oral argument as may be permitted by the Court.



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         All references to “Robert W. Kegley Sr.” or “Kegley” in this litigation are to Robert W. Kegley Sr.
in his capacity as trustee of the Robert W. Kegley Sr. Revocable Living Trust U/A DTD 04/16/2003.


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       WHEREFORE, Kegley respectfully requests that the Court: (1) consolidate the above-

captioned actions and any related securities class actions; (2) appoint Kegley as Lead Plaintiff; (3)

approve the selection of Kessler Topaz as Lead Counsel and Caffarelli as Liaison Counsel for the

class; and (4) grant such other relief as the Court may deem just and proper.

Dated: June 10, 2019                                  Respectfully Submitted,

                                                      KESSLER TOPAZ
                                                       MELTZER & CHECK, LLP

                                                      /s/ Sharan Nirmul
                                                      Sharan Nirmul
                                                      Naumon A. Amjed
                                                      Ryan T. Degnan
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                                                      Counsel for Robert W. Kegley Sr., as Trustee
                                                      of the Robert W. Kegley Sr. Revocable Living
                                                      Trust U/A DTD 04/16/2003, and Proposed
                                                      Lead Counsel for the Class

                                                      CAFFARELLI & ASSOCIATES LTD.
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                                                      Proposed Liaison Counsel for the Class




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